          Case 1:15-cr-00272-DAD-BAM Document 122 Filed 02/07/18 Page 1 of 2


 1   PRECILIANO MARTINEZ
     ATTORNEY AT LAW
 2   STATE BAR NO.93253
     1120 14TH Street, Suite 5
 3   Modesto, CA 95354
     (209)579-2206/ (209)579-2211 FAX
 4   attymartinezp@yahoo.com

 5   Attorney for Defendant
     EDMOND HORMOZI
 6
                                 UNITED STATES DISTRICT COURT
 7
                                EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                      )
10              Plaintiff,                          )       CASE NO. 1:15-CR-00272-DAD-BAM
                                                    )
11          vs.                                     )       EX PARTE REQUEST FOR
                                                    )       DEFENDANT'S WAIVER OF
12   EDMOND HORMOZI,                                )       APPEARANCE
              Defendant.                            )
13                                                  )
                                                    )
14                                                  )

15
     TO THE HONORABLE COURT:
16
            Defendant EDMOND HORMOZI hereby knowingly, voluntarily and intelligently waives
17
     his right to be present at the hearing currently scheduled before the Honorable Barbra A.
18
     McAuliffe on February 12, 2018 at the hour of 1:00 p.m., where his presence is not necessary to
19
     ensure his constitutional rights. Defendant also knowingly, voluntarily and intelligently waives
20
     his right to be present at these proceedings under Federal Rules of Criminal Procedure, Rule 43.
21
     Further, defendant agrees that attorney Preciliano Martinez may appear on his behalf and that
22
     defendant will appear at any hearing next scheduled by the court.
23

24
     DATED: 2/6/18                                                 /s/ Preciliano Martinez
25                                                                 Preciliano Martinez, Attorney for
                                                                   Edmond Hormozi
26
     DATED: 2/6/18                                                 /s/ Edmond Hormozi
27
                                                                   Edmond Hormozi
28




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     Modesto, CA 95354
 4   (209)579-2206/ (209)579-2211 FAX
     attymartinezp@yahoo.com
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     Attorney for Defendant
 6   EDMOND HORMOZI
 7                               UNITED STATES DISTRICT COURT
 8                              EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                     )
                Plaintiff,                         ) CASE NO. 1:15-CR-00272-DAD-BAM
11                                                 )
            vs.                                    ) PROPOSED ORDER
12                                                 )
     EDMOND HORMOZI,                               )
13            Defendant.                           )
                                                   )
14                                                 )
                                                   )
15

16          This matter came before the court on defendant Edmond Hormozi’s ex parte request that

17   his personal appearance at the February 12, 2018 hearing be excused. The Court hereby grants

18   the defendant's ex parte application and excuses his appearance on February 12, 2018.

19

20   IT IS SO ORDERED.

21

22   Dated:        February 7,         2018                 /s/ Barbara A. McAuliffe
23                                                       UNITED STATES MAGISTRATE JUDGE

24

25

26

27

28




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